UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FEDERAL TRADE COMMISSION,

Plaintiff, 20-cv-4432 (JSR)

-vV- OPINION AND ORDER

RCG ADVANCES, LLC et al.,

Defendants.

JED S. RAKOFF, U.S.D.J.

Plaintiff, the Federal Trade Commission (“FTC”), alleges that
defendant Jonathan Braun led a scheme to defraud small businesses
and to intimidate their owners. This alleged scheme centered ona
financing arrangement called a “merchant cash advance” agreement
(“MCA” Agreement). Co-defendant RCG Advances, LLC (“RCG”) loaned
a lump sum of cash to a customer; in exchange, the customer
assigned its future receivables to RCG until the defendants
collected an agreed-upon amount. The FIC alleges that Mr. Braun,
both directly and through RCG, swindled customers by lying about
many of the terms of these advances: the amount of cash RCG would
loan, the amount of money RCG would collect, and whether the owners
of RCG’s customers would have to personally guarantee their debts.

And when those customers fell behind on their payments, the FTC

threats. This scheme, the FTC alleges, violated Section 5(a) of

the Federal Trade Commission Act (“FTCA”), as well as Section 521
of the Gramm-Leach-Billey Act (“GLB Act”). See First Amended
Complaint (“FAC”), @I 33-55, ECF No. 84.

On April 8, 2022, the FIC moved for summary judgment on its
claims against Mr. Braun. Since there is no genuine dispute of
material fact on the essential elements of those claims, the Court
hereby finds Mr. Braun liable on those claims (Counts I-V). The
Court will also issue a permanent injunction. The Court, however,
denies the FTC’s motion for summary judgment on the amount of
compensatory damages and civil penalties, as to which further
proceedings will be necessary.

qT. Factual Background

It is undisputed that Mr. Braun and his co-defendants!
(collectively, the “defendants”) entered into MCA Agreements with
small businesses, in which defendants provided these customers
with upfront lump-sum amounts in exchange for the right to collect
the customers’ future receivables until defendants recouped a
contractually specified amount of money. FTC Rule 56.1 Statement

of Material Facts (“SMF”), II 48, 54-55, 70, ECF No. 109-1.2

1 The other defendants in this case, RCG, Ram Capital Funding LLC,
Robert Giardina, and Tzvi Reich, settled with the FTC. See 1/5/22
Stipulated Order, ECF No. 102; 6/2/22 Stipulated Order, ECF No.
127.

2 Except where indicated, the factual allegations set forth in this
section are undisputed, for reasons explained below.
Specifically, the MCA Agreements contemplate that defendants would
make daily. debits of a specified amount from their customers’ bank
accounts until defendants recouped the entire amount that they
were owed. Id. {@ 56. More generally, the contractual agreements
provide that customers would agree to permit direct debits and
credits to their bank accounts, give information about their bank
accounts, grant a lien on their properties, and sign “Affidavit[s]
of Confession of Judgment.” Id. FF 58-62, 64-65.

Mr. Braun “was an owner, manager, and officer of RCG” and
exercised his authority to make decisions, establish policies, and
determine employment practices for all the defendants. Id. W{ 27-
29, 31. Specifically, Mr. Braun played an extensive role in the
formulation and implementation of the MCA Agreements. Mr. Braun
negotiated the terms of those agreements, exercised his authority
to “change the fees that consumers were required to pay in order
to obtain financing,” and had final authority to approve the terms
of those agreements. Id. WII 34-38. Mr. Braun also exercised
considerable control over the administration of the MCA
Agreements. Mr. Braun would instruct the other defendants “to
deposit funds into the bank accounts of one or more consumers,”
monitored whether customers missed payments, “made the ultimate

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decisions about how to service [d]efendants’ advances,” exercised
the authority to determine how to handle missed payments, exercised

the authority to declare a customer in default, and exercised

authority over the filing of confessions of judgment (“COJs”)
against customers. Id. Gf] 39-44.

There is evidence that Mr. Braun and his co-defendants
regularly failed to adhere to the contractual terms of the MCA
Agreements and required customers to agree to contractual terms
that conflicted with representations that defendants made on their
website. Defendants over-debited customers’ bank accounts,
withdrawing daily amounts even after the customer had fully repaid
the amount that defendants were contractually owed. Id. G71 70-96.
Additionally, even though defendants, on their website,
represented that there was “no personal guaranty of collateral”
that was required of the business owners and that there were “No
Credit or Collateral Requirements,” id. 4 97, in actuality,
defendants required business owners to sign personal guaranties of
their businesses’ performance, agree to be held jointly and
severally liable in the event of default, and sign COJs confessing
to judgment in their personal capacities. Id. (97 98-101. Finally,
even though defendants’ website stated that “No Upfront Costs”
would be charged to customers, in actuality, defendants regularly
charged their customers for upfront costs by deducting fees from
the contractually agreed upon, upfront lump-sum amount. Id.
{i 104-31.

There is clear evidence that Mr. Braun and his co-defendants

engaged in other unseemly business practices. Defendants would

execute and file COJs against customers without a contractual basis
for doing so, causing undue emotional and financial hardship to
businesses and their owners. Id. @@ 132-42, 145-56. Often, those
COJs would contain material misrepresentations. Id. {1 143-44,
147. Defendants also made threats against their customers in order
to make collections, inflicting emotional and financial harms upon
businesses and their owners. Id. @4 157-73. Finally, defendants
made unauthorized daily withdrawals from their customers’
accounts. Id. 97 174-89.

In light of this extensive misconduct, the FTC asserts five
claims against Mr. Braun. Count One alleges Mr. Braun violated
Section 5(a) of the FTCA by making false and/or misleading
statements that the FTC alleges qualify as deceptive acts or
practices. FAC, 9{@ 36-38. Count Two alleges that Mr. Braun misused
COJs and thus violated Section 5(a) of the FTCA by engaging in an
unfair act or practice. Id. If@ 39-41. Count Three similarly alleges
that Mr. Braun engaged in an unfair act or practice, in violation
of Section 5(a) of the FTCA, by threatening customers to induce
them to make payments. Id. 9 42-44. Count Four alleges Mr. Braun
made unauthorized withdrawals from customers’ bank accounts, which
is also an unfair act or practice that violates Section 5(a) of
the FTCA. Id. @@ 45-47. Finally, Count Five alleges Mr. Braun
violated Section 521 of the GLB Act by making false statements to

obtain customers’ bank account information and then using that

information to over-withdraw funds from those customers’ bank
accounts. Id. @@ 53-54. The FAC requests a panoply of remedies,
including a permanent injunction, civil penalties for each
violation of Section 521 of the GLB Act, and a refund of customers’
money.

On April 8, 2022, the FTC moved for summary judgment on Mr.
Braun’s liability under Counts One through Five and sought monetary
and injunctive remedies against Mr. Braun. FTC Mot. for Summ. J.,
ECF No. 109; FTC Mem. in Supp. of Summ. J. (“FTC Mem.”), ECE No.
110. On May 13, 2022, Mr. Braun opposed the FTC’s motion for
summary judgment, cross-~moved to amend his answer to add a statute
of limitations defense, moved to withdraw his deemed admissions to
the FTC’s requests for admission, and moved the Court to accept
his late-filed responses to the FTC’s requests for admission. Def.
Cross Mot., ECF. No. 114; Def. Mem. of Law in Opp’n to Mot. for
Summ. J. and in Supp. of Cross-Mot. (“Def. Mem.”), ECF No. 119.
The FTC opposed Mr. Braun’s request to withdraw his deemed
admissions and to file late responses to the FTC’s requests for
admission. FTC Mem. of Law in Opp’n to Def. Mot. to Accept Late
Filed Resps., ECF No. 123.

Mr. Braun’s request to withdraw his deemed admissions and
make late-filed responses to the FTC’s request for admission was
denied, but Mr. Braun was permitted to amend his answer to add a

statute of limitations defense. See 6/13/22 Memo Endorsement, ECF

No. 135. Accordingly, all that remains to be resolved is whether,
on the undisputed facts, the FTC is entitled to summary judgment
on Counts One through Five and the remedies that are appropriate

should the Court determine that summary judgment on liability is

warranted.
II. Discussion
“Summary judgment is proper when, after drawing all

reasonable inferences in favor of a non-movant, no reasonable trier

of fact could find in favor of that party.” Heublein, Inc. v.

United States, 996 F.2d 1455, 1461 (2d Cir. 1993); see also Fed.

R. Civ. P. 56(a) (“The court shall grant summary judgment if the
movant shows that there is no genuine dispute as to any material
fact and the movant is entitled to judgment as a matter of law.”) .3
“A fact is ‘material’ for these purposes if it ‘might affect the

outcome of the suit under the governing law.’” Holtz v. Rockefeller

& Co., Inc., 258 F.3d 62, 69 (2d Cir. 2001) (quoting Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). “An issue of fact

is ‘genuine’ if ‘the evidence is such that a reasonable jury could
return a verdict for the nonmoving party.’” Id. “Genuine issues of
fact are not created by conclusory allegations.” Heublein, 996

F.2d at 1461. In making its determination on summary judgment, the

3 Unless otherwise indicated, case quotations omit all internal
quotation marks, alterations, footnotes, and citations.

Court “view[s] the evidence in the light most favorable to the
party opposing summary judgment, draw[s] all reasonable inferences
in favor of that party, and eschew[s] credibility assessments.”

New York v. Mountain Tobacco Co., 942 F.3d 536, 541 (2d Cir. 2009).

As the moving party, it is the FTC’s “burden to show that no

genuine factual dispute exists.” Vt. Teddy Bear Co. v. 1-800

Beargram Co., 373 F.3d 241, 244 (2d Cir. 2004). However, Mr. Braun

must show more than “[t]he mere existence of a scintilla of
evidence in support of [his] position.” Anderson, 477 U.S. at 252.
He “must offer some hard evidence showing that [his] version of

the events is not wholly fanciful.” Jeffreys v. City of New York,

426 F.3d 549, 554 (2d Cir. 2005). “{A] nonmoving party’s self-
serving statement, without direct or circumstantial evidence

., is insufficient to defeat a motion for summary judgment.” Walker
v. Carter, 210 F. Supp. 3d 487, 503 (S.D.N.¥. 2016).

A. Adverse Inferences and Deemed Admissions

Before turning to Mr. Braun’s liability, the Court addresses
two threshold issues. First, the Court determines whether it should
draw certain adverse inferences that the FTC requests. Second, the
Court determines how it should treat Mr. Braun’s deemed admissions
on summary judgment.

First, the Court will draw adverse inferences against Mr.
Braun based on the invocation by his associates of their Fifth

Amendment rights in depositions, investigative hearings, and

requests for admission. Under certain circumstances, the Court is
permitted to draw adverse inferences against Mr. Braun based on
co-conspirators or associated non-parties invoking the Fifth

Amendment. See United States v. Dist. Council of N.Y.C. and

Vicinity of United Bhd. Of Carpenters & Joiners of Am., 832 F.

Supp. 644, 651-52 (S.D.N.Y. 1993); SEC v. Durante, No. O1 Civ.

9056, 2013 WL 6800226, at *10-*11 (S.D.N.Y. Dec. 19, 2013), report

and recommendation adopted, No. 01 Civ. 9056, 2014 WL 5041843

(S.D.N.Y. Sept. 25, 2014), aff’d, 641 F. App’x 73 (2d Cir. 2016).
In making that determination, the Court considers the following
“non-exclusive factors”: (1) “{t]he [n]lature of the [r]lelevant
[rJelationships”; (2) “[t]he [d]egree of [clontrol of the [plarty
[o]ver the [n]on-[pljarty [w]itness”; (3) “{tjhe [c]lompatibility of
the [i]lnterests of the [p]Jarty and the [n]on-[pJarty [{w]litness in
the [olutcome of the [l]itigation”; and (4) “[t]he [rlole of the

[nJon-[p]larty [w]litness in the [llitigation.” LiButti v. United

States, 107 F.3d 110, 123-24 (2d Cir. 1997). At bottom, “the
overarching concern is fundamentally whether the adverse inference
is trustworthy under all of the circumstances and will advance the
search for the truth.” Id. at 124.

The FTC requests that the Court draw adverse inferences based
on certain employees of defendants -- Jose DaSilva, Miriam Deutsch,
Christopher Kim, Ezra Mosseri, and Marcella Rabinovich -- invoking

the Fifth Amendment during depositions and investigative hearings.
See Pl. Ex. 26, ECE No. 109-33; Pl. Ex. 29, ECF No. 109-36; Pl.
Ex. 30, ECF No. 109-37; Pl. Ex. 31, ECF No. 109-38; Pl. Ex. 32,
ECF No. 109-39. In the excerpts provided by the FTC, these
employees made blanket assertions of their Fifth Amendment rights
when asked anything about the corporate defendants, the employees’
roles in the business, Mr. Braun’s role in the business, the MCA
Agreements, and the misconduct at the center of this case.? The
Court finds that all the factors counsel in favor of drawing an
adverse inference. These are employees of the corporate
defendants, meaning their business bond made it “less likely the
non-party witness would .. . render testimony in order to damage
the relationship,” LiButti, 107 F.3d at 123, and Mr. Braun

effectively controlled the employees and the corporate defendants,

4 DaSilva invoked the Fifth Amendment when asked about his
involvement with the MCA Agreements, his interactions with
customers, his interactions with Braun, Braun’s role at the
corporate defendants and in deals, and the actions that the FTC
argues violated the FTCA and GLB Act. See Pl. Ex. 26. Deutsch
similarly invoked the Fifth Amendment when asked about Braun’s
control over the defendants, how the MCA Agreements were
administered, the fees that were charged, and the misconduct at
the center of this case. See Pl. Ex. 29. Kim invoked the Fifth
Amendment when asked about the business and identity of the
corporate defendants, Braun’s involvement and misconduct toward
customers, and misconduct related to fees. See Pl. Ex. 30. Mosseri
invoked the Fifth Amendment when asked about the business and his
role, Braun’s role, misconduct related to fees, and business
practices related to the MCA agreements. See Pl. Ex. 31. Rabinovich
invoked the Fifth Amendment when asked about the corporate
defendants, Braun’s role, the MCA agreements, and the declaring of
defaults and issuance of COJs. See Pl. Ex. 32.

10

see SMF, II 27-29, 31, 38-39, 41-44. These employees also faced
civil and criminal exposure for their involvement in the same
wrongdoing as Mr. Braun, so their “assertion of the privilege

advances” both their interests and Mr. Braun’s. See LiButti, 107

F.3d at 123. Finally, these employees had roles in the underlying
misconduct at issue in this litigation. The Court will accordingly
draw adverse inferences against Mr. Braun based on these employees’
invocations of the Fifth Amendment.

The FTC also requests that the Court draw adverse inferences
based on the invocation of the Fifth Amendment by Robert Giardina
(one of Mr. Braun’s co-defendants) in response to the FTC’s
requests for admission. See Pl. Ex. 5, ECF No. 109-7; Pl. Ex. 7,
ECF No. 109-9. Mr. Giardina invoked his Fifth Amendment rights in
response to every request for admission, which asked Mr. Giardina
about the conduct the FTC alleges violated the FTCA and GLB Act,
his control over defendants’ website, and his authority and control
over defendants. See Pl. Exs. 5, 7. Here, the factors that the
Court must consider also counsel in favor of drawing an adverse
inference. Mr. Giardina and Mr. Braun shared a bond of business,
they are co-defendants in the same litigation so their interests
are aligned, and Mr. Giardina played a central role in the
misconduct at the center of this litigation. Although it is not
clear how much control Mr. Braun exercised over Mr. Giardina, Mr.

Braun’s level of control over the defendants’ business practices

11

in general renders this factor neutral in the analysis. The Court
will therefore draw adverse inferences against Mr. Braun based on
Mr. Giardina’s invocations of the Fifth Amendment.

Second, the Court will adhere to Judge Kaplan’s previous
decision to not allow Mr. Braun to withdraw his deemed admissions
or file his responses to the FTC’s requests for admission.®
Therefore, Mr. Braun’s failure to respond to the FTC’s requests
for admission means those requests are deemed admitted. Fed. R.
Civ. P. 36(a) (3), (b). Accordingly, the Court will consider those
facts to be undisputed in analyzing the FTC’s motion for summary

judgment. See, e.g., Donovan v. Carls Drug Co., 703 F.2d 650, 651

(2d Cir. 1983), rejected on other grounds by McLaughlin v. Richland

Shoe Co., 486 U.S. 128 (1988); Virga_v. Big Apple Constr. &

Restoration Inc., 590 F. Supp. 2d 467, 471 (S.D.N.Y. 2008) (“For

purposes of summary judgment, matters admitted under rule 36(a) of
the Federal Rules of Civil Procedure may be used for summary

judgment under rule 56.”); Broadcast Music, Inc. v. Prana Hosp.,

Inc., 158 F. Supp. 3d 184, 190 n.5 (S.D.N.Y. 2016); Funnekotter v.

Agric. Dev. Bank of Zim., No. 13 Civ. 1917, 2015 WL 9302560, at *4

(S.D.N.Y. Dec. 17, 2015).

5 This case was originally assigned to the Hon. Lewis A. Kaplan
and was reassigned to the undersigned on October 27, 2022.

12
B. Liability

a. Count I: Deceptive Acts in Violation of Section 5 of the
FTCA

Section 5 of the FTCA prohibits “unfair or deceptive acts or
practices in or affecting commerce.” 15 U.S.c. § 45(a). The FTC
must prove three elements to show a deceptive act or practice:
“(1) a representation, omission, or practice, that (2) is likely
to mislead consumers acting reasonably under the circumstances,
and (3) the representation, omission, or practice is material.”

FTC v. LeadClick Media, LLC, 838 F.3d 158, 168 (2d Cir. 2016).

“{ITjntent to deceive” is not required. Id. See also FTC v. Moses,

913 F.3d 297, 306 (2d Cir. 2019).

To show that representations, omissions, or practices were
misleading to reasonable consumers, the misrepresentations,
omissions, or practices must be assessed “as a whole;” however,
“[Tce]onsumer reliance on express claims is presumptively

reasonable.” See FTC v. Five-Star Auto Club, Inc., 97 F. Supp. 2d

502, 528 (S.D.N.Y. 2000). See also Murray Space Shoe Corp. v. FTC,

304 F.2d 270, 272 (2d Cir. 1962) (“In deciding whether petitioner’s
advertising was false and misleading, we are not to look to
technical interpretation of each phrase, but must look to the
overall impression these circulars are likely to make on the buying

public.”).

13

“A claim is considered material if it involves information
important to consumers and, hence, is likely to affect their choice

of, or conduct regarding a product.” FIC v. Med. Billers Network,

Inc., 543 F. Supp. 2d 283, 304 (S.D.N.¥. 2008). “Information
concerning prices or charges for goods or services is [considered]

material.” FTC v. Crescent Publ’g Grp., Inc., 129 F. Supp. 2d 311,

321 (S.D.N.Y. 2001), and materiality is presumed for “[e]xpress

representations that are shown to be false.” Med. Billers Network,

543 F. Supp. 2d at 304. The FTC does not need to show “that every
consumer actually relied upon the misrepresentation to prevail.”

Five-Star Auto Club, Inc., 97 F. Supp. 2d at 530.

The parties dispute whether the FTC must also show the
deceptive act “is likely to cause substantial injury to consumers
which is not reasonably avoidable by consumers themselves and not
outweighed by countervailing benefits to consumers or to
competition.” See 15 U.S.C. § 45(n). Mr. Braun cites a Second
Circuit case that appears to endorse his position that this is an

element of a deceptive act or practices claim, see LeadClick Media,

838 F.3d at 168; however, the Court finds that discussion there
was dicta and therefore not binding on this Court. At issue in

LeadClick Media was not whether Section 5(n) applies to a deceptive

act claim; indeed, the appellant in that case conceded that “its
affiliates engaged in false and deceptive advertising practices.”

Instead, the issue in that case was whether appellant could be

14

held liable under Section 5 for its participation in the deceptive
scheme. Id. at 168-72. Further illustrating this was dicta, when
the Second Circuit restated the standard for a deceptive act claim
under Section 5, in 2019, any reference to Section 5(n) was
conspicuously absent. See Moses, 913 F.3d at 306.

Given that this discussion was dicta, this Court must now
decide de novo whether Section 5(n) applies to a deceptive act or
practice claim. The plain terms of Section 5(n) only apply to
“unfair” acts or practices. See 15 U.S.C. § 45(n) (“The Commission
shall have no authority under this section . . . to declare
unlawful an act or practice on the grounds that such act or

practice is unfair .” (emphasis added)). See FTC Vv.

Cyberspace.Com LLC, 453 F.3d 1196, 1199 n.2 (9th Cir. 2006). That

clear statutory language controls. See, e.g., POM Wonderful LLC v.

Coca-Cola Co., 573 U.S. 102, 112 (2014). Therefore, the Court finds

that importing such a requirement into a deceptive practice claim
would be an improper reading of the statute and declines Mr.
Braun’s invitation to do so.

Turning now to the merits, the factual record is replete with
evidence that defendants undertook three deceptive acts of
practices. First, defendants withdrew more money from their
customers’ bank accounts than defendants were entitled to under
the MCA Agreements. Second, defendants falsely advertised that

personal guaranties were not required, when defendants in fact

15

required personal guaranties from business owners. Third,
defendants falsely represented that the MCA Agreements had no
upfront fees, even though defendants, in practice, withheld fees
from the upfront lumpsum that was advanced to their consumers. The
Court addresses each deceptive act in turn.

First, the undisputed facts establish that defendants over-
debited their customers’ bank accounts. The MCA Agreements
specified the total amount that customers would need to repay
defendants in exchange for the upfront lumpsum that customers would
receive. SMF, @ 70. To collect on the amount owed, the MCA
Agreements authorized defendants to make daily debits from the
customers’ bank accounts until the amount owed was repaid. Id.
I 71. In actuality, however, defendants had a practice of
withdrawing more than the total amount that was owed from
customers’ bank accounts until customers asked them to stop. Id.
TI 72-76. Defendants thus misrepresented the amount of money that
they would withdraw from their customers’ bank accounts.
Furthermore, this misrepresentation was material and would have
reasonably misled defendants’ customers because the representation
regarding the amount that customers owed was expressly stated in

the contracts. See SMF, GI 70; Med. Billers Network, 543 F. Supp.

2d at 304; Five-Star Auto Club, Inc., 97 F. Supp. 2d at 528.

Second, the undisputed facts establish that defendants

falsely advertised on their website that personal guaranties were

16

not required, when, in fact, they were. Their website stated that
“no personal guaranty of collateral” is required and that there
are “{nJo [c]redit or [c]ollateral [rJequirements.” SMF, q 97; Pl.
Ex. 35, Att. C at 28, 31, 36-37, ECF No. 109-42. In actuality,
however, defendants required customers to sign a “Security
Agreement and Guaranty” that obligated business owners to
personally guarantee their businesses’ performance of the MCA
Agreement. SMF, 1 98-99. Sometimes, Moreover, defendants included
a contractual provision allowing defendants to pursue such owners
in the event of default, id. @ 100, and defendants regularly
required the business owners to sign COJs in which they confessed
to judgment “individually and personally,” id. @ 101. Finally, in
practice, defendants enforced the personal guaranties. Id. FW 102-
03. Thus, the statements on defendants’ website were false, and
since those false statements were express, they are presumed to be
material and customers’ reliance on those statement is reasonable.

Med. Billers Network, 543 F. Supp. 2d at 304; Five-Star Auto Club,

Inc., 97 F. Supp. 2d at 528.

Third, the undisputed facts establish that defendants misled
customers into thinking there were no upfront fees and that they
would receive a specified upfront lumpsum amount. Their website
stated there were “No Upfront Costs.” SMF, @ 104. And the MCA
Agreements specified an upfront lumpsum amount that would be paid.

Id. 4% 105, 111-12. However, in practice, defendants deducted fees

17

from the upfront lumpsum amount, resulting in consumers receiving
less than the total upfront lumpsum amount specified in the MCA
Agreement. Id. 47 106-07. To add insult to injury, defendants would
also regularly withhold from the upfront lumpsum amount even more
than the fees. Id. (7 115, 130. Thus, defendants’ representations
that customers would not be charged upfront fees and would receive
a specified upfront amount are false, and since the representations
were express, they are material and it is reasonable for a consumer

to rely upon them. Med. Billers Network, 543 F. Supp. 2d at 304;

Five-Star Auto Club, Inc., 97 F. Supp. 2d at 528.

Mr. Braun, for his part, does not dispute that these deceptive
acts or practices occurred. Rather, he argues that he did not have
the requisite level of control or participation for the imposition
of individual liability.

“An individual may be held liable under [Section 5 of] the
FTCA for a corporation’s deceptive acts or practices if, with
knowledge of the deceptive nature of the scheme, he either
participates directly in the practices or acts or has authority to
control them.” Moses, 913 F.3d at 306. There is direct
participation “when [a defendant] engages in deceptive acts or
practices that are injurious to customers with at least some

knowledge of the deception.” LeadClick Media, 838 F.3d at 169-70.

A defendant’s “[a]uthority to control . . . can be evidenced by

active involvement in the business affairs and the making of

18

corporate policy, including assuming the duties of a corporate
officer.” Moses, 913 F.3d at 307.

To show knowledge, “actual and explicit knowledge of the
particular deception at issue” is not necessary; instead,
“knowledge may be established by showing that the individual
defendant had actual knowledge of the deceptive conduct, or was
recklessly indifferent to its deceptiveness, or had an awareness
of a high probability of deceptiveness and intentionally avoided
learning of the truth.” Id. “The degree of participation in
business affairs is a relevant factor in determining whether [an
individual defendant] had knowledge of [a corporate defendant’ s]
wrongful actions.” Id. at 309.

Mr. Braun exercised considerable control over all the
defendants in this case. He “was an owner, manager, and officer of
RCG,” had decision-making authority for all defendants (including
the authority to establish policies and employment practices),
“created content” for defendants’ website, had extensive
involvement and control over the MCA Agreements, made decisions
about collecting missed payments, exercised authority to declare
customers in default, and exercised authority over the filing of
COJs. SMF, GI 27-29, 31-32, 34-36, 41-44. The evidence shows that
Mr. Braun personally participated in, and had knowledge of, the
over-withdrawals. Id. @@1 77, 79-96. Furthermore, Mr. Braun’s

knowledge of the securing of personal guaranties (despite

19

advertising to the contrary) is evidenced by his authority and
involvement with creating content for their website and for the
MCA Agreements, and his declaring customers in default, including
an email from Mr. Braun to a consumer stating he would be going
after the consumer personally. See SMF, IG 32, 34-36, 41-44, 97-
103; Pl. Ex. 35 at 1187, ECF No. 109-51 (“We will be going after
the company and you personally with our legal team.”). Finally,
the evidence show that Mr. Braun knew of, and participated in, the
scheme to deduct upfront fees and not pay the specified upfront
lumpsum. SMF, If 34-36, 39, 104-124, 129.

In an effort to prop up his position, Mr. Braun cites to his
own declaration (which he submitted twice).® Compare Braun Decl.,
ECF No. 120, with Braun Decl. in Opp’n., ECF No. 120-21. Then,
citing to his own self-serving declaration, Mr. Braun argues that
he did not control the corporate defendants and did not participate
in or make any of the misrepresentations that are the basis for
the Section 5 claim. See Braun Decl. in Opp’n., @1 4, 14. By
itself, however, such bare and conclusory testimony does not create

a genuine dispute of material fact. See, e.g., Adler v. Penn Credit

Corp., No. 19-CV-7084, 2022 WL 744031, at *Q9 (S.D.N.Y. Mar. 11,

6 Although Mr. Braun does not reference it in his opposition brief,
in his Rule 56.1 Statement Mr. Braun also cites to his own
testimony at an investigative hearing held by the New York Attorney
General. See Def. Ex. 3, ECF. No 122-1. To the extent Mr. Braun
relies on his own conclusory testimony at this hearing, that too
cannot create a genuine dispute of material fact.

20

2022) (*[A]l non-moving party’s self-serving statement, without
direct or circumstantial evidence to support the charge, is
insufficient to defeat a motion for summary judgment.”); Walker,

210 F. Supp. 3d at 503; Khudan_v. Lee, No. 12-cv-8147, 2016 WL

4735364, at *5 (S.D.N.Y. Sept. 8, 2016).

Therefore, the FTC has established that the undisputed facts
show that Mr. Braun, with knowledge of the deceptive acts of
defendants, both actively participated in, and had authority to
control, those deceptive acts. It is therefore proper to impose
individual liability on Mr. Braun for Count I. Accordingly, the
FTC is entitled to summary judgment on Count I against Mr. Braun.

b. Count II-IV: Unfair Practices In Violation of Section 5
of the FTCA

Counts II through IV assert Mr. Braun violated Section 5 of
the FTCA by engaging in three unfair business practices. Each count
is addressed below.

Section 5(n) states that a practice is unfair when it “causes
or is likely to cause substantial injury to consumers [that] is
not reasonably avoidable by consumers themselves and not
outweighed by countervailing benefits to consumers or to

competition.” 15 U.S.C. § 45(n). See FIC v. Verity Int’l, Ltd.,

335 F. Supp. 2d 479, 498 (S.D.N.Y. 2004) (quoting 15 U.S.C. §
45(n)). Although the Second Circuit has not had the occasion to

opine on the meaning of “substantial injury,” “reasonably

21

avoidable,” or when an injury is “not outweighed by countervailing
benefits to consumers or to competition,” the Court finds the case
law from other circuits and district courts instructive.

“An act or practice can cause ‘substantial injury’ by doing
a small harm to a large number of people, or if it raises a

significant risk of concrete harm.” FTC v. Neovi, Inc., 604 F.3d

1150, 1157 (9th Cir. 2010). And to “determinfe] whether consumers’
injuries were reasonably avoidable, courts look to whether the
consumers had a free and informed choice.” Id. at 1158. See also

FTC v. Windward Mktg., Inc., No. Civ. A 1:96-CV-615F, 1997 WL

33642380, at *11 (N.D. Ga. Sept. 30, 1997) (“the Court focuses on
whether the consumers had a free and informed choice that would
have enabled them to avoid the unfair practice”). However, “fajn
injury is reasonably avoidable if consumers have reason to
anticipate the impending harm and the means to avoid it, or if
consumers are aware of, and are reasonably capable of pursuing,
potential avenues toward mitigating the injury after the fact.”

Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152, 1168-69 (9th Cir.

2012). Finally, an injury is not outweighed by other benefits when
there are “clear adverse consequences for consumers that are not
accompanied by an increase in services or benefits to consumers or

by benefits to competition.” FIC v. Johnson, 96 F. Supp. 3d 1110,

1151 (D. Nev. 2015). See also FTC v. Pointbreak Media, LLC, 376 F.

Supp. 3d 1257, 1286 (S.D. Fl. 2019).

22

1. Count II: Misuse of COJs

The undisputed facts show that defendants violated Section 5
by misusing COJs. Defendants mandated that customers (the
businesses and the businesses’ owners) “sign a Confession of
Judgment confessing judgment in the event of a default of the
Merchant Agreement.” SMF, @ 132. Although the MCA Agreements only
permitted defendants to execute upon the COJs in limited
circumstances, defendants filed and executed COuUs in situations
not permitted by the MCA Agreements. Id. (7 133-37. This plainly
unfair practice caused substantial financial injury to customers,
including business closures, loss of employees, and difficulty
obtaining credit. Id. G@ 153. Customers could not reasonably avoid
this practice because the COJs were filed outside the bounds that
were permissible pursuant to the MCA Agreements. Thus, customers
could not have avoided or anticipated the filing of the COJs, as
adhering to the contract would not stop defendants from filing the
COJs. Finally, it is self-evident that there is no benefit to
customers or the public when defendants improperly seek judgments
against unwitting, innocent customers.

2. Count III: Threats to Consumers

The undisputed facts show that defendants violated Section 5
by making improper threats to customers. Defendants repeatedly
threatened customers, with physical, reputational, and financial

harm, in order to collect payments. SMF, qq] 157-69. This unfair

23

practice caused substantial injury to customers, including
financial, emotional, and reputational harms. Id. q{] 172-73. There
was no way for customers to reasonably avoid defendants’ practice
of making improper threats, as customers had no reason to know
they would be threatened if they were unable to make payments under
the MCA Agreements and defendants appear to have threatened
customers at their own caprice and whim. Finally, there is
absolutely no benefit to customers or competition when defendants
use improper means, such as threats of bodily harm, to collect on
amounts owed.

3. Count IV: Unauthorized Withdrawals

The undisputed facts show that defendants violated Section 95
by making unauthorized withdrawals from customers’ accounts.
Although the MCA Agreements only permitted defendants to “debit
the specific daily amount each business day,” defendants regularly
“withdrew multiple payments on one business day,” including making
unauthorized double debits the day before or after a bank holiday,
and defendants also, on occasion, withdrew more than the
contractually permitted daily amount. SMF, (i 174-81. And, as
discussed above, defendants also continued making debits after
customers had paid the entire amount that was owed to defendants.

See SMF, II 72-73. That is an unfair practice. See, e.g., FIC v.

Wells, 385 F. App’x 712, 713 (9th Cir. 2010) (“Carrying out

unauthorized transactions was an unfair practice.”).

24

It also caused substantial financial injury to customers
because more debits were withdrawn than were contractually
authorized. See SMF, W4 74-75, 180-89. Customers could not avoid
these unauthorized withdrawals, as the MCA Agreements gave
customers no reason to expect that these withdrawals would occur.
And finally, there is no countervailing benefit to competition or
the customers when defendants withdraw more money than they are
entitled to contractually.

Once again, Mr. Braun does not genuinely dispute that any of
these unfair trade practices occurred. Instead, he argues that he
cannot be held individually liable for these unfair practices.
Although the Second Circuit has not directly addressed the standard
for holding an individual liable for a corporate defendant’s unfair

acts under Section 5 of the FTCA, nothing in LeadClick Media or

Moses indicates that the standard for imposing individual
liability would differ based on whether a deceptive act or unfair
practice is alleged under Section 5 of the FTCA. Therefore, the
Court will use the same standard here that it used to determine
whether it was appropriate to impose individual liability on Mr.
Braun for the corporate defendants’ deceptive acts.

As explained above, the FTC has undisputedly established Mr.
Braun’s authority to control defendants. SMF, CI 27-29, 31-32, 34-
36, 38-44. The FTC has also established Mr. Braun’s personal

participation in and knowledge of each of the three alleged unfair

25

acts or practices. First, as it relates to the misuse of COJUs (the
basis of Count II), Mr. Braun had direct involvement with the MCA
Agreements (and thus can fairly be said to know the contractual
terms) and yet personally directed the filing of COJs in
circumstances that were not contractually proper. See SMF, G1 34-
36, 132-41, 144, 146, 150. Second, Mr. Braun personally made
numerous threats against customers and provided a script to another
individual that included improper threats; it is also therefore
fair to deduce from those facts that Mr. Braun had knowledge of
this unfair practice. SMF, QI 157, 159-63, 165, 168-69, I171.
Finally, Mr. Braun knew of defendants’ practice of making
unauthorized withdrawals, as evidenced by an email from Mr. Braun
explicitly instructing another individual not to make a holiday
debit, as well as by the fact that a customer complained directly
to Mr. Braun about the double-debit issue. SMF, @f1 179, 182; Pl.
Ex. 35 at 1423-24, ECF No. 109-53; Pl. Ex. 12, GG 19-20, ECF No.
109-14. And, as discussed above, Mr. Braun personally participated
in, and had knowledge of, the over-withdrawals. SMF, @9@ 77, 79-
96.

Citing to his own self-serving and conclusory declaration
(again), Mr. Braun argues he had no involvement with the COJs, did
not own or control defendants, and never made any threats. Braun
Decl. in Opp’n., @I 4, 14-38. But, as discussed above, such

conclusory testimony cannot create a genuine dispute of material

26

fact. Therefore, the undisputed facts show that Mr. Braun, with
knowledge of the unfair acts, both directly participated in those
acts and had authority to control those acts.

Accordingly, the FTC is entitled to summary judgment on Counts
II, III, and IV against Mr. Braun.

c. Count V: GLB Section 521

Section 521(a)(2) of the GLB Act makes it unlawful “for any

person to obtain or attempt to obtain . . . customer information
of a financial institution relating to another person . . .- by
making a false, fictitious, or fraudulent statement or

representation to a customer of a financial institution.” 15 U.S.C.
§ 6821(a) (2). The FTC argues that Mr. Braun violated this provision
by making false representations about the MCA Agreements -- namely
that defendants would collect a specified amount from customers
and customers would receive a specified lumpsum upfront -- in order
to obtain customers’ bank account information to make withdrawals.
Mr. Braun for his part does not dispute the underlying facts of
the FTC’s theory. Rather, Mr. Braun, relying heavily on legislative
history, argues that this provision was not intended to reach this
type of misconduct. It appears that no other court has addressed
the scope of this statutory provision, so the Court will rely on
the tools of statutory interpretation to determine whether this

provision reaches the misconduct that the FTC alleges.

27

“Customer” and “customer information of a financial
institution” are statutorily defined. “Customer” is defined as
“any person (or authorized representative of a person) to whom the
financial institution provides a product or service, including
that of acting as fiduciary.” 15 U.S.C. § 6827(1). Defendants’
customers were small businesses, and small businesses are

f

“persons.” See, ©.9-, 1 U.S.c. § 1 (the term “person
include[s] corporations, companies, associations, firms,
partnerships, and joint stock companies, as well as individuals”).
Neither side appears to contest that these small businesses had
bank accounts open at financial institutions, and that, therefore,
defendants’ customers are covered by this statutory provision.
Second, “customer information of a financial institution” is
defined as “any information maintained by or for a financial
institution which is derived from the relationship between the
financial institution and a customer of the financial institution
and is identified with the customer.” 15 U.S.C. § 6827(2). Plainly,
the information that defendants required from customers about
their bank accounts -- their routing numbers, bank account numbers,
and any information needed for accessing and controlling their
bank accounts -- falls within the definition of “customer
information of a financial institution.” See SMF, qq 60-62.

The dispute between the parties appears to be about the scope

of the phrase “false, fictitious, or fraudulent statement.” The

28

FTC argues that the same misrepresentations that violated Section
5 of the FTCA, namely, “(1) they would collect a specific amount
from customers’ bank accounts . . . to repay their funding to
customers and (2) that they would provide customers with a specific
amount of funding,” are the “false, fictitious, or fraudulent
statements” that defendants used to obtain their customers’ bank
account information. See FTC Mem. at 25. Mr. Braun counters that
the statutory phrase should not reach that far because a House
Report gives “misrepresenting the identity of the person
requesting the information or otherwise misleading an institution
or customer into making unwitting disclosures of such information”
as an example of conduct that would be “fraudulent or deceptive.”
Def. Mem. at 19; H.R. Conf. Rep. No. 106-434, at 173 (1999). Mr.
Braun argues that never having the intent to perform contractual
obligations is different in kind than the false statements that
the GLB Act was intended to reach (i.e., “impersonation and similar
fraud”). Def. Mem. at 19-20.

Mr. Braun’s argument proves too much. The plain text of the
statutory provision controls, and legislative history cannot alter

the meaning of the plain text. See Oklahoma v. Castro-Huerta, 142

S. Ct. 2486, 2496 (2022) (“the text of a law controls over
purported legislative intentions unmoored from any statutory
text”). The plain text reaches “false, fictitious, or fraudulent

statement[s]” full stop. The Court will not read a limitation

29

(i.e., that the means of deception must be akin to impersonation)
into the text. Furthermore, even if there is some limit to that
phrase, it certainly reaches statements that would be
independently violative of Section 5 of the FTCA (as that provision
only reaches misleading representations, omissions, or practices).
As discussed above, the statements about the amounts owed and the
lumpsum amount that customers would be given were independently
violative of Section 5 of the FTCA as material, misleading
misrepresentations. Therefore, given that the undisputed facts
show that defendants used these false statements to induce
customers to sign the MCA Agreements and disclose their bank
account information, which in turn permitted defendants to over-
withdraw from customers’ bank accounts, the FTC has established a
violation of Section 521 of the GLB Act.

The question then becomes whether Mr. Braun is individually
liable for defendants’ violations of Section 521 of the GLB Act.
That raises a threshold issue that appears to be undecided in the
Second Circuit: what standard applies? The FTC argues that the
same individual liability standard that applies under Section 5 of
the FTCA should apply to the GLB Act. See FTC Mem. at 26 n.10. Mr.
Braun does not respond to this argument or propose that a different
standard should apply. Although this is a novel issue in this
Circuit, the Second Circuit’s holding in Moses convinces this Court

that the FTC is correct that the same standards for imposing

30

individual liability under Section 5 of the FTCA apply to imposing
individual liability under Section 521 of the GLB Act.

In Moses, the Second Circuit held that the individual
liability standard under Section 5 of the FTCA “applies when the
FTC brings an action to enforce the FDCPA [Fair Debt Collection
Practices Act]” because:

“[VJiolations of the FDCPA are deemed to be unfair or
deceptive acts or practices under the [FTCA].” Jerman Vv.
Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573,
577, 130 §.Ct. 1605, 176 L.E.2d 519 (2010); see also 15
U.$.C. § 16921(a) (“[A] violation of [the FDCPA] shall be
deemed an unfair or deceptive act or practice in violation
of” the FTCA and is subject to enforcement “in the same
manner as if the violation had been a violation of a[n] [FTC]
trade regulation rule.”) The FTC, then, is enforcing the
FDCPA pursuant to its authority under the FTCA. And because
the FTC can enforce compliance with the FDCPA only by
employing the FTCA, and “in the same manner as a violation”
of the FTCA, 15 U.S.C. § 16921(a), it follows, we conclude,
that the FTCA individual liability standard applies.

Moses, 913 F.3d at 307.

That logic demands that the same result obtain here. Section
522 of the GLB Act states that the FTC can enforce compliance with
Section 521 of the GLB Act “in the same manner and with the same
power and authority as the Commission has under the Fair Debt
Collection Practice Act . . . to enforce compliance with such Act.”
15 U.S.C. § 6822(a). It follows therefore that the same standard
for imposing individual liability under the FDCPA should apply to
claims under the GLB Act, and the Second Circuit has already held

in Moses that the individual liability standard that applies under

31

the FDCPA is the same individual liability standard that applies
under Section 5 of the FTCA. Therefore, the Court applies the same
individual liability standard that applies under Section 5 of the
FTCA to determine if Mr. Braun is individually liable for
defendants’ violations of the GLB Act.

As discussed extensively above, Mr. Braun had the authority
to control almost every aspect of what the defendants did,
including negotiating and approving the terms of the MCA
Agreements (which required the disclosure of customers’ bank
account information and included the false statements about the
specified withdrawal amounts and specified upfront lumpsum
amount). SMF, II 27-29, 31-32, 34-36, 38-44, 54-56, 59-62. And,
as discussed above, Mr. Braun also knew about and directly
participated in over-withdrawing from customers’ bank accounts
and underfunding the MCA Agreements. Id. (1 34-36, 39, 77, 79-96,
104-124, 129. In his brief, Mr. Braun raises no disputes about
the underlying facts that the FTC claims constituted a violation
of the GLB Act. Accordingly, there is no genuine dispute of
material fact that Mr. Braun is liable under Section 521 of the
CLB Act. The FTC is therefore entitled to summary judgment on
Count V against Mr. Braun.
C. Remedies

Having found Mr. Braun liable on the claims asserted by the

FTC, the Court now turns to the issue of remedy. The FTC seeks

32

three kinds of remedies: money damages, civil penalties, and a
permanent injunction. For the reasons discussed below, the Court
finds there are genuine issues of fact that preclude granting
summary judgment to the FIC on damages and civil penalties, but

the Court will issue a permanent injunction.

a. Compensatory Damages

The FTC seeks money damages for Mr. Braun’s violations of the
GLB Act. The parties dispute whether the FTC has the authority to
do so. The Court agrees with the FTC that it has the statutory
authority to seek monetary relief for violations of the GLB Act.’

Section 522(a) of the GLB Act allows the FTC to enforce
Section 521 of the GLB Act (the provision that Mr. Braun violated)
“in the same manner and with the same power and authority” that
the FTC “has under the [FDCPA].” See 15 U.S.C. § 6822(a). The
FDCPA, meanwhile, authorizes the FTC to use “[aJil of [its]

functions and powers . . . under the FTCA” to enforce compliance

7 The Supreme Court’s decision in AMG Capital Management v. FTC
does not hold otherwise. There, the Supreme Court held that Section
13 of the FTCA, which allows the FTC to obtain a “permanent
injunction,” does not authorize the FTC to obtain “equitable
monetary relief such as restitution or disgorgement.” AMG Cap.
Mgmt., LLC v. FTC, 141 S. Ct. 1341, 1344 (2021). Unlike the
provision at issue in AMG, here the FTC invokes a provision of the
FTCA that explicitly does allow for money damages. Compare 1»
U.8.C. § 53(b) (permitting a “permanent injunction”), with 15
U.S.C. 57b(b) (permitting “the payment of damages”). I

In fact, the
Supreme Court in AMG recognized the difference in language between
Section 13 and Section 19. See AMG Cap. Mgmt., 141 S. Ct. at 1348-
49.

33

with it. 15 U.S.C. § 16921(a). Specifically, the FDCPA authorizes
the FTC to treat a violation of it “in the same manner as if the
violation had been a violation of a Federal Trade Commission trade
regulation rule.” Id. And, under Section 19 of the FTCA, this
Court is authorized “to grant such relief as [it] finds necessary
to redress injury to consumers . . .- resulting from the rule
violation,” including “the payment of damages.” 15 U.S.C. § 57b (b)
(emphasis added). Because GLB violations (like FDCPA violations)
can be treated like rule violations, the FTC can seek money damages
against Mr. Braun under Section 19.

Turning now to the calculation of compensatory damages, the
parties disagree about the amount of compensatory damages that
Mr. Braun properly owes. For the reasons discussed below, the
Court finds there are genuine disputes of material fact that
preclude summary judgment on compensatory damages.

The FTC initially submitted Dr. McAlvanah’s report to argue
that it was entitled to $4,847,911 in compensatory damages for
defendants’ overcharging consumers and over-deducting fees. FTC
Mem. at 33-34; See Pl. Ex. 34, ECF No. 109-41. The FTC reached
this calculation based on taking a random sample of accounts from
a full data pool of 1,499 customers. SMF, 7 194. Based on a random
sample of 87 accounts, Mr. McAlvanah concluded that 23 accounts
were overcharged, which corresponds to a 26.4% incidence rate.

Id. ¢ 194; Pl. Ex. 34, @ 19. Mr. McAlvanah also concluded that

34

the mean overpayment amount was $8,579. SMF, @ 195; Pl. Ex. 34,
q 24. Extrapolating all this to the full data pool of 1,499
customers, the FTC concluded that 395 customers were overcharged
a mean of $8,579, which multiplied together would be $3,377,705.
SMF, (I 194-95. Then, based on a random sample of 52 accounts,
Mr. McAlvanah concluded that defendants over-deducted fees from
18 accounts, which corresponds to a 36.4% incidence rate. Id

q 196; Pl. Ex. 34, @I 32. Mr. McAlvanah also concluded that the
mean over-deduction was $2,817. SMF, @ 197; Pl. Ex. 34, FI 36.
Extrapolating this to the full data pool of 1,499 deals, the ETC
concluded that 518 customers experienced a mean over-deduction in
fees of $2,817, which multiplied together would be $1,459,206.
SMF, qi 196-97. Therefore, the FTC sought $4,874,911 in
compensatory damages. FTC Mem. at 34.

However, in opposition, Mr. Braun correctly noted there is a
three-year statute of limitations imposed on any monetary damages
that the FTC may recover, see 15 U.S.C. § 57b(d), and that the
FTC was seeking compensatory damages for violations outside that
statutory window. Def Mem. at 24-26. The Court then permitted Mr.
Braun to amend his answer to assert the statute of limitations
defense. See 6/13/22 Memo Endorsement; Amended Answer, ECF No.
136.

In its reply brief, the FTC conceded that there is a three-

year statute of limitations and that it had “inadvertently used

35

the Defendant’s full history of misrepresentations to small
business consumers without accounting for the 3-year limitations
period.” FTC Reply Mem. in Further Supp. of Mot. for Summ. J.
(“FTC Reply Mem.”), at 14, ECF No. 129. In an effort to correct
this fundamental error in its expert’s report, the FIC now offers
a new declaration from Elizabeth Kwok {an FTC investigator)
stating that of the full data set of 1,499 deals, “1,354 had at
least one payment withdrawn by Defendants on or after June 10,
2017.” Pl. Ex. 37, @ 12, ECE No. 129-1. Using that new number as
the full data pool and relying on the same incidence rates and
mean overcollection and over-deduction amounts, the FTC argues
that its revised amount is $4,381,059. FTC Reply Mem. at 15. The
FTC urges the Court to exercise its discretion to consider this
newly submitted evidence on reply.

The Court, however, has concerns. The first concern is
methodological. Instead of submitting a revised and updated expert
report from Dr. McAlvanah accounting for the statute of
limitations, the FTC submitted a declaration containing one
sentence that concludes 1,354 deals should be considered as within
the statutory period. See Pl. Ex. 37, g 12. The declaration does
not explain how this conclusion was reached, the data that was
relied upon, or how this establishes that only violations that
occurred within the statute of limitations will figure into the

calculation of damages. Nor does it assure the Court that the

36

random sample -- which drew from a pool of deals inside and outside
the statute of limitations period and which was used as the basis
for calculating the incidence rate and mean overcollections and
over-deductions of fees -- is still an appropriate sample. It is
not clear if the random sample included deals outside the
statutory window and it is not clear if its calculations included
over-deductions and over-collections that occurred outside the
statutory window. That gives the Court pause because the
declaration does not explain if there are variations in the
frequency or amount of over-collections and over-deductions
between the deals within the statute of limitations period (1.e.,
on or after June 10, 2017) and those deals outside the statute of
limitations period.

The second concern is equitable. By making this new revision
in its reply papers and based on new facts, the FTC deprived Mr.
Braun of the ability to contest whether 1,354 is the number of
deals that fall within the statutory period. It also deprived Mr.
Braun of the ability to contest the methodological soundness of

the FTC’s new calculation.® In essence, the FTC is asking the

8 Mr. Braun did submit his own expert report that objects to the
methodology of the FTC’s expert report, see Def. Ex. 11, ECF No.

120-13, but it is inadmissible and cannot “be considered on summary
judgment because it is unsworn and there is no indication from the
record that it the expert later reaffirmed his opinion in an
affidavit or at a deposition. See Berk v. St. Vincent’s Hosp. and
Med. Ctr., 380 F. Supp. 2d 334, 352 (S.D.N.Y. 2005) (“Courts in
this Circuit have uniformly held that unsworn expert reports do

37

Court to grant summary judgment based on a fact that Mr. Braun
never had the chance to dispute.

Although the Court agrees with the FTC that the Court has
discretion to consider new evidence submitted with a reply brief,

see Compania Del Bajo Caroni (Caromin), C.A. v. Bolivarian Republic

of Venez., 341 F. App’x 722, 724 (2d Cir. 2009), in these
circumstances the Court declines to exercise that discretion. The
FTC’s recalculation is not, as the FTC contends, simply a response

to issues raised in Mr. Braun’s opposition. See Toure v. Cent.

Parking Sys. of N.Y., No. 05 Civ. 5237, 2007 WL 2872455, at *2

(S.D.N.Y. Sept. 28, 2007) (denying a motion to strike new evidence
submitted with a reply when they did “not raise new arguments, but
rather respond to issues raised in opposition or amplify points
already made on the initial motion”). Rather, it is an entirely
new argument about the scope of the appropriate damages. The
initial calculation of damages was for five years and was based on

1,499 deals; now, the FTC’s calculation of damages is for three

not satisfy the admissibility requirements of Fed. R. Civ. P.
56(e), and cannot be used to defeat a summary judgment motion
without additional affidavit support.”); Richardson v. Corr. Med.
Care, Inc., 2023 WL 3490904, at *2 (2d Cir. May 17, 2023)
(“subsequent verification or reaffirmation of an unsworn expert’s
report, either by affidavit or deposition, allows the court to
consider the unsworn expert’s report on a motion for summary
judgment”). However, this indicates that if he had been given the
chance, Mr. Braun would have contested this revised 1,354 figure,
further convincing the Court that granting summary judgment on a
basis of a revised figure that Mr. Braun could not respond to would
be inequitable.

38

years and is based on 1,354 deals. The FTC should not get a second
chance to show it is entitled to summary judgment on compensatory
damages when Mr. Braun had no chance to respond and the underlying
data that was necessary for the appropriate damages calculations
surely was available to the FTC at the time of its opening brief.

See, e.g., D’Alessandro v. Arrow Pharmacy Holdings, LLC, 3:20-CV-

536, 2023 WL 1967245, at *5 (D. Conn. Feb. 13, 2023) (“It is well
established that a party cannot attempt to cure deficiencies in
its moving papers by introducing new evidence in its reply when
the effect would be to deprive the opposing party of the

opportunity to respond.”); Thompson v. Spota, CV 14-2473, 2018 WL

6163301, at *26 (E.D.N.Y. Aug. 23, 2018) (“It is plainly improper
to submit on reply evidentiary information that was available to
the moving party at the time that it filed its motion and that is
necessary in order for that party to meet its burden.”); Aurora

Loan Servs., Inc. v. Posner, Posner & ASSOCS., P.C., 513 F. Supp.

2d 18, 20 (S.D.N.Y. 2007) (“To allow plaintiff to then submit new
materials to meet its burden would inappropriately allow plaintiff

a second bite at the summary judgment apple.”); Mack v. Hall, No.

9:18-CV-0875, 2020 WL 5793438, at *6 (N.D.N.¥. July 27, 2020)
(“Because the affidavit is new evidence, and [the opposing party]
was not provided with an opportunity to respond to the evidence in

a sur-reply, the Court will not consider the affidavit.”).

39
Given that the evidence in the record would not allow the
Court to definitively resolve the amount of damages that the FTC
is entitled to within the statute of limitations period, the Court

denies summary judgment on compensatory damages.

b. Penalties

The FTC also seeks monetary penalties. Section 5(m) (1) (A)
authorizes the FTC to recover “a civil penalty in a district court
of the United States against any person” who violates any trade
regulation rule “with actual knowledge or knowledge fairly implied
on the basis of objective circumstances that [his] act is unfair
or deceptive and is prohibited by such rule.” 15 U.S.C.
§ 45(m) (1) (A). “A defendant is responsible where a reasonable
person under the circumstances would have known of the existence
of the provision and that the action charged violated that

provision.” United States v. Nat’1l Fin. Servs., Inc., 98 F.3d 131,

139 (4th Cir. 1996). See also United States v. Dish Network,

L.L.C., 954 F.3d 970, 978 (7th Cir. 2020) (“But § 45(m) (1) (A)
includes a variation on an ignorance-of-law defense; a business
can be liable only if it either knew that the act was unlawful or
if it should have known that the act was unlawful.”).

Here, the FTC claims that Mr. Braun is subject to this civil
penalty for his violations of the GLB Act. As explained above, the

GLB Act is deemed to be a provision of the FTCA for purposes of

40

its enforcement and can be treated as a rule violation, and there
is no genuine dispute that Mr. Braun violated the GLB Act.

The sole remaining issue is whether Mr. Braun knowingly
violated the GLB Act. The FTC identifies two pieces of undisputed
evidence that, it contends, show that Mr. Braun knew that his
actions violated the GLB Act. First, in defendants’ contract with
Actum Processing (the merchant processor that they used to execute
withdrawals from consumers’ bank accounts), they expressly agreed
to comply with all laws, including the GLB Act. SMF, @% 190-92.
See Pl. Ex. 35, Att. G at 214-15, 218, ECF No. 109-42. Second, Mr.
Braun directed one of his co-defendants, Mr. Giardina, to sign an
amendment to a contract that expressly warranted that defendants
were not subject to investigation or legal proceedings related to
the GLB Act. SMF, @ 193; Pl. Ex. 35, Att. II at 1448-54, ECF No.
109-53.

“[Vjiew[ing] th[is] evidence in the light most favorable to”
Mr. Braun and “draw[ing] all reasonable inferences in favor of”

Mr. Braun, as the Court must on summary judgment, Mountain Tobacco

Co., 942 F.3d at 541, the Court concludes these facts are
insufficient to conclusively establish actual or constructive
knowledge on summary judgment. This evidence falls short of actual
knowledge, as it does not definitively establish that Mr. Braun
knew of the GLB Act and its statutory commands. The issue of

constructive knowledge is a much closer issue, but the Court finds

4l

that a reasonable factfinder could draw competing inferences from
this evidence, one favorable to the FTC and one favorable to Mr.
Braun. On the one hand, a reasonable factfinder could infer
constructive knowledge based on these two facts. On the other hand,
a reasonable factfinder could also infer Mr. Braun did not have
constructive knowledge that the GLB Act forbid misrepresenting
contractual terms to obtain consumers’ bank account information
simply based on two contracts that represented the corporation was
in compliance with all laws and regulations (including the GLB Act
among many other laws) and that the corporation was not subject to
investigation or legal proceedings under the GLB Act or other laws.
The Court believes this is a quintessential question of fact for
a factfinder. The Court therefore denies summary judgment to the

FTC on its entitlement to civil penalties.

c. Permanent Injunction

Finally, the FTC seeks a permanent injunction whose terms
would (1) prohibit Mr. Braun from marketing, selling, ofr
collecting on (or assisting others with marketing, selling, or
collecting on) merchant case advances; (2) prohibit him from
participating in debt collection activities; (3) prohibit him from
making misrepresentations concerning products or services; (4)
prohibit him from making unauthorized debits, withdrawals, or
charges; (5) require him to dismiss any pending cases against

customers, terminate any UCC liens against customers, and request

42

removal of negative credit reports issued against customers; (6)
prohibit him from violating the GLB Act; (7) impose monitoring
conditions that would require Mr. Braun to provide customer
information, acknowledge receipt of this Court’s Order, submit
compliance reports, and maintain certain records; and (8) permit
the FTC to monitor Mr. Braun’s compliance with this Court’s Order.

See FTC Revised Proposed Order, at 14-17, 20-26, ECF No. 129-2.

Mr. Braun only objects to the provisions that would ban him from
making merchant cash advances and from participating in debt
collection activities and that would require him to dismiss
pending cases and terminate UCC liens. For the reasons discussed
below, the Court will issue a permanent injunction but will
slightly modify the terms the FTC proposes.

Section 13(b) of the FTCA authorizes this Court to grant a
permanent injunction against violations “of any provision of law

enforced by the [FTC].” 15 U.S.C. § 53(b). See FIC v. Bronson

Partners, LLC, 654 F.3d 359, 365 (2d Cir. 2011) (acknowledging

Section 13(b) permits the issuance of a permanent injunction).
The Court can issue a permanent injunction when “there exists some

cognizable danger of recurrent violation,” United States v. W.T.

Grant Co., 345 U.S. 629, 633 (1953), “or some reasonable

likelihood of future violations,” FTC v. Minuteman Press, 53 F.

Supp. 2d 248, 260 (E.D.N.Y. 1998). See also Med. Billers Network,

543 F. Supp. 2d at 323. Courts look to a list of factors to

43

“determin[e] whether such danger exists” that “includefs]:
defendant’s scienter, whether the conduct was isolated or
recurrent, whether defendant is positioned to commit future
violations, the degree of consumer harm caused by defendant,
defendant’s recognition of his culpability, and the sincerity of
defendant’s assurances (if any) against future violations.” FTC

v. Instant Response Sys., LLC, No. 13 Civ. 00976, 2015 WL 1650914,

at *10 (E.D.N.Y. Apr. 14, 2015). See also Med. Billers Network,

543 F. Supp. 2d at 323.

Here, in light of the egregiousness of Mr. Braun’s conduct,
the seriousness of the harm he inflicted on consumers, his
continuing denial of his role in the misconduct, and the sheer
number of times Mr. Braun engaged in misconduct, the Court has no
trouble finding a permanent injunction prohibiting Mr. Braun from
making merchant cash advances or participating in debt collection
activities (as defined the FTC’s proposed order) to be

appropriate. See, e.g., FTC v. Shkreli, 581 F. Supp. 3d 579, 639

(S.D.N.Y. 2022) (issuing a lifetime industry ban when the
defendant engaged in “egregious, deliberate, repetitive, long-

running, and ultimately dangerous illegal conduct”). See also FTC

v. Fed. Check Processing, Inc., 14-CV-122S8, 2016 WL 5940485, at

*4, *7 (W.D.N.Y. Oct. 13, 2016) (issuing an injunction
“permanently ban[ning] Defendants from engaging in debt collection

activities or assisting others who do”); Instant Response Sys.,

44

LLC, 2015 WL 1650914, at *10 (issuing an injunction banning
defendant from “engaging in the marketing, promotion or sale of

medical alert goods or services”); Verity Int’l, 335 F. Supp. 2d

500 (issuing a permanent injunction “prohibiting defendants
from participating in any capacity in the offering of audiotext
or videotext services to U.S. consumers”). The Court also finds
the provisions requiring Mr. Braun to refrain from illegal conduct
and to request removal of negative credit reports issued against
customers to be appropriate. The monitoring provisions are also
appropriate to ensure compliance with the permanent injunction.

However, Mr. Braun correctly notes that requiring him to
dismiss any pending cases against consumers and terminate any
liens imposed against consumers under the UCC would result ina
windfall for his counterparties. To the extent that Mr. Braun’s
consumers have been harmed by his conduct, they will be
compensated by the damages that the FTC will likely prove are
warranted to a factfinder. An additional remedy for past harm, of
the sort that the FTC envisions, is not required.

Accordingly, the Court will issue a permanent injunction that
includes all the terms the FTC proposes except for the terms that
require Mr. Braun to dismiss any pending case or terminate UCC

liens.

45

III. Conclusion

For the foregoing reasons, the Court hereby enters summary
judgment to the FTC on liability on all claims asserted against
Mr. Braun. Additionally, the Court enters a permanent injunction,
the terms of which are identical to the FTC’s proposal except for
excluding the provisions requiring the dismissal of pending
lawsuits and the termination of UCC liens. However, the Court
denies the FTC summary judgment on compensatory damages and civil
penalties.

SO ORDERED.

Dated: New York, NY thi
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September U , 2023 JED S. RAKOFF, U.S.D.J.

46

